
29 N.Y.2d 911 (1972)
Stella Hand, as Administratrix of The Estate of Arthur Hand, Deceased, Respondent, et al., Plaintiff,
v.
Penn Central Transportation Company, Appellant, et al., Defendants.
Court of Appeals of the State of New York.
Argued November 23, 1971.
Decided January 6, 1972.
William L. Shumate and William F. X. Geoghan, Jr. for appellant.
Jesse C. Sable and Arnold B. Elkind for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI and GIBSON. Judges BREITEL and JASEN dissent and vote to reverse on the dissenting opinion at the Appellate Division. Taking no part: Judge BERGAN.
Order affirmed, with costs; no opinion.
